108 F.3d 1372
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Franklin HUTSON, Plaintiff--Appellant,v.SOUTH CAROLINA DEPARTMENT OF CORRECTIONS;  At Torney Generalof The State of South Carolina, Defendants--Appellees.
    No. 96-7789.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1997Decided March 13, 1997.
    
      Franklin Hutson, Appellant Pro Se.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before MURNAGHAN, NIEMEYER, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his petition filed under 28 U.S.C. § 2254 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  Hutson v. South Carolina Dep't of Corr., No. CA-95-3798-2-20AJ (D.S.C. May 15, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.  We further deny Appellant's motion for appointment of counsel.
    
    DISMISSED
    